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07                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
08                                       AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )              Case No. MJ08-195
11         v.                             )
                                          )
12   FELIX VAZQUEZ-VILLANUEVA,            )              DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14
     Offenses charged:
15
            Count 1: Conspiracy to Distribute Methamphetamine, in violation of 21 U.S.C. §§
16
     841(a)(1), 841(b)(1)(A) and 846.
17
     Date of Detention Hearing:      April 25, 2008
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
     the following:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)       Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant
23
     is a flight risk and a danger to the community based on the nature of the pending charges.
24
            (2)       An immigration detainer has been placed on defendant by the United States
25
     Immigration and Customs Enforcement.
26

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01          (3)    Defendant has stipulated to detention, but reserves the right to contest his
02 continued detention if there is a change in circumstances.

03          (4)    There are no conditions or combination of conditions other than detention that will
04 reasonably assure the appearance of defendant as required or ensure the safety of the community.

05          IT IS THEREFORE ORDERED:
06          (1)    Defendant shall be detained pending trial and committed to the custody of the
07                 Attorney General for confinement in a correctional facility separate, to the extent
08                 practicable, from persons awaiting or serving sentences or being held in custody
09                 pending appeal;
10          (2)    Defendant shall be afforded reasonable opportunity for private consultation with
11                 counsel;
12          (3)    On order of a court of the United States or on request of an attorney for the
13                 government, the person in charge of the corrections facility in which defendant is
14                 confined shall deliver the defendant to a United States Marshal for the purpose of
15                 an appearance in connection with a court proceeding; and
16          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
17                 counsel for the defendant, to the United States Marshal, and to the United States
18                 Pretrial Services Officer.
19                 DATED this 25th day of April, 2008.
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21
                                                          A
                                                          JAMES P. DONOHUE
22                                                        United States Magistrate Judge

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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